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 6
     Attorneys for John Beach, Trustee of the
 7   Beach Living Trust dated January 22, 1999

 8
                             UNITED STATES BANKRUPTCY COURT
 9
                                       DISTRICT OF NEVADA
10
      In re:                                                 Case No.: BK-N-14-50333-btb
11                                                           Chapter: 11
      ANTHONY THOMAS and WENDI THOMAS
12                                                           [Lead Case – Jointly Administered]

13          Affects AT EMERALD, LLC                         Case No.: BK-N-14-50331-btb
            Affects all Debtors                             Chapter: 11
14
                                                             ATTORNEY INFORMATION
15                                                           SHEET IN SUPPORT OF
                                                             PROPOSED ORDER IN SUPPORT
16                                                           OF APPLICATION FOR HEARING
                                                             ON ORDER SHORTENING TIME
                                                             REGARDING MOTION TO
17                                                           COMPEL PRODUCTION OF
                                                             REQUIRED KEY OR AUTHORIZE
18                                                           DRILL OUT OF VAULT LOCK
19                                                       Hearing Date: OST REQUESTED
20                                                           Hearing Time: OST REQUESTED
21
               As required by this Court, under Local Rule 9006, secured creditor John Beach
22
     (“Beach”), as trustee of the Beach Living Trust dated January 22, 1999 (the “Beach Trust”), by
23
     and through its attorneys of record, Holland & Hart LLP, has contacted the parties listed below
24
     concerning its application for an order shortening time to hear its Motion to Compel Production
25
     of Required Key or Authorize Drill Out of Vault Lock (the “Motion”).       It is estimated that the
26
     hearing on the Motion will take approximately ten (10) minutes. Counsel agreed or disagreed to
27
     the time being shortened as indicated below:
28
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 1    NAME            DATE            AGREE/DISAGREE/NO CONTACTED VIA
                      CONTACTED       RESPONSE          TELEPHONE/FAX/EMAIL
 2
      Holly Estes,    7/17/2014       Disagree                    E-mail
 3    Esq.
      Attorney for
 4    Debtor

 5    Bill Cossitt,   7/17/2014       No Response                 E-mail
      Esq.
 6    Attorney for
      U.S. Trustee
 7

 8

 9           DATED Thursday, July 17, 2014.

10                                             HOLLAND & HART LLP

11
                                               By     /s/ Joseph G. Went
12                                                Timothy A. Lukas, Esq.
                                                  Joseph G. Went, Esq.
13                                             Attorneys for John Beach, Trustee of the
                                               Beach Living Trust dated January 22, 1999
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